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                          UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

Lashawn Spruell a/k/a
Shawn Spruell

                        Plaintiff,                  NO.: 2: 17 -cv-00809

               V.

Tracy Shawley, et al.                               JURY TRIAL DEMANDED

                        Defendants.

                                            ORDER

       AND NOW this          ,/ ,/ J-,(    dayof     ~            , 2018, upon consideration of

Plaintiffs Consent Motion for Leave to File a Response to Defendants' Motion for Summary

Judgment's Statement of Material Facts, and Defendants' concurrence thereto, it is hereby

ORDERED and DECREED that Plaintiff's Motion is GRANTED, and Plaintiff has leave to file

the above Response within fourteen (14) days from the date of entry of this Order.

       AND IT IS SO ORDERED.
